     Case 4:23-cv-00163-AW-MJF Document 45 Filed 06/01/23 Page 1 of 14




                IN THE UNITED STATES DISTRICT COURT
                   NORTHERN DISTRICT OF FLORIDA
                        TALLAHASSEE DIVISION

WALT DISNEY PARKS AND
RESORTS U.S., INC.,

             Plaintiff,
v.                                             Case No.: 4:23cv163-MW/MJF

RONALD D. DESANTIS, in his
official capacity as Governor of
Florida, et al.,

          Defendants.
______________________________/

                          ORDER ON DISQUALIFICATION

      I have considered, without hearing, Defendants’ motion to disqualify me, ECF

No. 33, and Plaintiff’s response, ECF No. 43. For the reasons that follow,

Defendants’ motion is DENIED. Nonetheless, I find disqualification required for a

different reason.

                                          I

      Defendants seek to disqualify me from presiding over this case because, in

their view, questions I have asked in previous, related cases raise substantial doubts

about my impartiality. ECF No. 43 at 9. In response, Plaintiff argues, in short, that

“Defendants’ motion to disqualify is based on a misapprehension of the law and a

misstatement of the facts.” ECF No. 43 at 2.
     Case 4:23-cv-00163-AW-MJF Document 45 Filed 06/01/23 Page 2 of 14




      Under 28 U.S.C. § 455(a), a judge must disqualify himself from “any

proceeding in which his impartiality might reasonably be questioned.” Section

455(a) mandates disqualification only when “an objective, disinterested, lay

observer fully informed of the facts underlying the grounds on which

disqualification was sought would entertain a significant doubt about the judge’s

impartiality.” United States v. Amedeo, 487 F.3d 823, 828 (11th Cir. 2007). For

disqualification under section 455(a), “what matters is not the reality of bias or

prejudice but its appearance.” Liteky v. United States, 510 U.S. 540, 548 (1994).

“[W]hen a judge harbors any doubts concerning whether his disqualification is

required he should resolve the doubt in favor of disqualification.” Parker v. Connors

Steel Co., 855 F.2d 1510, 1524 (11th Cir. 1988).

      Defendants’ motion is without merit. My use of hypothetical questions

referencing facts related to this case, in an earlier case also dealing with the

motivations of political actors (including some of the same actors here), cannot raise

a substantial doubt about my impartiality in the mind of a fully informed,

disinterested lay person. As Plaintiff aptly notes, Defendants rely on cases involving

“cartoonishly improper judicial conduct . . . .” ECF No. 43. Defendants cherry-pick

language from these cases to support their position without acknowledging the

wholly distinguishable context underlying each decision. For example, Defendants

cite United States v. South Florida Water Management District, 290 F. Supp. 2d


                                          2
      Case 4:23-cv-00163-AW-MJF Document 45 Filed 06/01/23 Page 3 of 14




1356, 1361 (S.D. Fla. 2003) for the assertion that an objective observer would have

a significant doubt that I would treat Defendants impartially. What Defendants fail

to acknowledge is that the court in that case found disqualification under § 455(a)

required only where the judge in question gave several interviews to reporters and

expressed his plain disfavor of legislation that ultimately came before him.1 His

comments to reporters and in orders included the following:

       • “I think [Governor] Bush is a good man and he means well, . . . But
         I’m afraid he fell into the hands of those who don’t like the
         Everglades” and that “[w]hen the governor signs this bill—and he
         will, I think, sign it—the South Florida Water Management District
         has got to be watched.”

       • “I think [Governor Bush is] doing what he thinks is right. He just
         doesn’t agree with me.”

       • “I’ll tell you one thing I’m sure of, we’re going according to the old
         law, . . . and we’re going to make sure of that.”

       • The “Court does not yet have cause to attempt to apply the
         legislation, and I sincerely hope I am never obliged to do so, for the
         bill is clearly defective in many respects. . . . While I am deeply
         troubled by the content of the bill, I am dismayed by the process that
         led to its passage. The bill was moved quickly through the legislative
         process, reportedly at the behest of more than forty lobbyists for the
         sugar industry.”



       1
         Defendants cite other dissimilar cases as well, including United States v. Cooley, 1 F.3d
985, 995 (10th Cir. 1993) (finding disqualification necessary where a judge gave an interview to
Barbara Walters on Nightline warning litigants in a case before him to obey his prior orders) and
In re Boston’s Child. First, 244 F.3d 164, 167 (1st Cir. 2001) (finding disqualification necessary
where judge gave an interview to a reporter and compared the merits of a prior case to a case before
her).
                                                 3
      Case 4:23-cv-00163-AW-MJF Document 45 Filed 06/01/23 Page 4 of 14




Id. at 1360–61. The statements at issue in this case fall far short of this conduct and

do not merit disqualification under 28 U.S.C. § 455(a).

       Defendants’ motion cites cases for their convenient language without

acknowledging the chasm between my statements in this case and the conduct at

issue in those cases. Without exploring all the other defects in the motion, for the

reasons noted above and as thoughtfully outlined in Plaintiff’s response, Defendants’

motion is wholly without merit. In fact, I find the motion is nothing more than rank

judge-shopping. Sadly, this practice has become all too common in this district. Cf.

Common Cause Fla. v. Lee, Case No. 4:22-cv-109-AW-MAF, 2022 WL 2343366,

at *1 (N.D. Fla. Apr. 6, 2022) (dismissing meritless motion to disqualify in a

redistricting case).

       However, Defendants did get one thing right. That is, if a judge has doubts

over whether disqualification is required, he should resolve those doubts in favor of

disqualification. I have consistently followed this principle. For example, I have

disqualified myself where, after holding a hearing to investigate the issue, I learned

that a former state-court colleague might be called as a witness in the case. G.H. v.

Tamayo, Case No. 4:19cv431-MW-MJF (N.D. Fla. Mar. 11, 2021).2 But this is not


       2
          Defendants’ reliance on Kelly v. Davis, No. 3:10CV392-MW/EMT, 2015 WL 5442789,
at *9 (N.D. Fla. Aug. 24, 2015) is misleading. Defendants cite Kelly for the proposition that I have
disqualified myself in close calls before. I did acknowledge that close calls favor disqualification,
see id. at 5, but I also explained—in plain terms—that my decision on the merits of the motion to
disqualify was “not a close call,” id. at 6. In fact, I explicitly found that the motion to disqualify
was “wholly without merit.” See id. The “close question” that led me to disqualify myself, raised
                                                  4
      Case 4:23-cv-00163-AW-MJF Document 45 Filed 06/01/23 Page 5 of 14




a close case. And I have “as much obligation . . . not to [disqualify myself] when

there is no occasion for [me] to do so as there is for [me] to do so when there is.”

See In re Moody, 755 F.3d 891, 895 (11th Cir. 2014) (quoting United States v.

Burger, 964 F.2d 1065, 1070 (10th Cir.1992)).

       But that doesn’t end the inquiry. My ethical obligations are not limited to what

the parties raise. Instead, I must evaluate all potential grounds for disqualification.

Next, I explain why I must disqualify myself for reasons unrelated to Defendants’

meritless motion.

                                                II

       Although Defendant’s motion to disqualify is without merit, I must consider

a separate question of whether I should disqualify myself. On Friday, May 26, 2023,

I learned, and later confirmed, that a relative within the third degree of relationship

owns thirty shares of stock in Plaintiff’s parent corporation, The Walt Disney

Company. Upon learning this information, I became obligated to engage in a

separate inquiry pursuant to the Code of Conduct for United States Judges to

determine if the financial interest of my third-degree relative “could be substantially

affected by the outcome of [this] proceeding.” Canon 3C(1)(d)(iii). 3 I have engaged


sua sponte, stemmed from my doubt that I could set aside my resentment of the movant’s scurrilous
attacks on my family. Id. at 9. Of course, in explaining my reasons for disqualification in Kelly, I
am certainly not inviting parties to judge-shop by making scurrilous attacks on my family in future
cases.
        3
          I pause to note that the Code of Conduct for Unites States Judges does not impose a duty
on judges to inquire into the financial interests of third-degree relatives. See Canon 3C(1)(d)(iii)
                                                 5
       Case 4:23-cv-00163-AW-MJF Document 45 Filed 06/01/23 Page 6 of 14




in that inquiry and determined that disqualification from this proceeding is required

under the circumstances.

       Next, I discuss the relevant Canon of the Code of Conduct for United States

Judges and Advisory Opinions construing it. After setting out the pertinent facts, I

apply those rules to this case.

                                                  A

       Canon 3C of the Code of Conduct for United States Judges describes several

situations where a judge’s impartiality may be reasonably questioned and when a

judge should disqualify himself from a proceeding. Although some sections of

Canon 3C impose bright-line rules for disqualification, others require judges to

engage in fact-intensive inquiries to determine whether disqualification is proper

under the circumstances. The section applicable here requires a fact-intensive

inquiry.4

       When a judge becomes aware that a third-degree relative has a financial

interest that may be affected by the outcome of a proceeding, such as the case here,



(stating that a judge must disqualify himself when it is “known by the judge” that a person “within
the third degree of relationship” has a financial interest that “could be substantially affected by the
outcome of the proceeding”) (emphasis added); cf. Committee on Codes of Conduct Advisory
Opinion No. 90 (explaining duty to inquire when relatives may be members of a class action).
Only when a judge becomes aware of the relevant financial interests of a third-degree relative must
that judge determine whether the proceeding’s outcome could substantially affect the third-degree
relative’s financial interests. Id.
        4
          One example of a bright-line rule for disqualification is when a judge, a judge’s spouse,
or a judge’s minor child residing in a judge’s household “has a financial interest in the subject
matter in controversy or in a party to the proceeding . . . .” Code of Conduct for United States
                                                  6
       Case 4:23-cv-00163-AW-MJF Document 45 Filed 06/01/23 Page 7 of 14




that judge must determine whether the third-degree relative’s financial interest

“could be substantially affected by the outcome of the proceeding.” Code of Conduct

for United States Judges, Canon 3C(1)(d)(iii) (emphasis added). An affirmative

answer to that question requires disqualification from the proceeding. 5 The size or

dollar amount of the third-degree relative’s financial interest is irrelevant, as it is

“not the size of the interest that is a concern under [Canon 3C], but rather whether

the interest could be substantially affected.” Committee on Codes of Conduct,

Advisory Opinion No. 94. Thus, a judge’s knowledge that a third-degree relative

owns just one share of stock in a corporation, with the price of that stock being a

single dollar per share, is enough to trigger the obligation to determine if the

proceeding’s outcome could substantially affect the value of that single share of

stock. 6 See id. To any non-attorney, the standard imposed by Canon 3C(1)(d)(iii)



Judges, Canon 3C(1)(c). Under such circumstances, the judge must disqualify himself from the
relevant proceeding. For that reason, if I, my spouse, or a minor child residing in my household
owned shares of The Walt Disney Company, then I would have disqualified myself immediately.
       5
         Under most circumstances, divestiture of a financial interest causing a judge’s impartiality
to be reasonably questioned is enough to alleviate the concerns surrounding that judge’s
impartiality. Here, however, divesture would not have the same curative effect. See Code of
Conduct for United States Judges, Canon 3C(4) (“Notwithstanding the preceding provisions of
this Canon, if a judge would be disqualified because of a financial interest in a party (other than
an interest that could be substantially affected by the outcome), disqualification is not required if
the judge (or the judge’s spouse or minor child) divests the interest that provides the grounds for
disqualification.”) (emphasis added).

       6
         It is not relevant to the analysis that my third-degree relative owns stock in the Plaintiff’s
parent corporation and not in Plaintiff itself. Under the Code of Conduct for United States Judges,
the owner of stock in a parent corporation is considered to have a financial interest in that parent
                                                  7
      Case 4:23-cv-00163-AW-MJF Document 45 Filed 06/01/23 Page 8 of 14




may seem counterintuitive. It is hard to imagine that a third-degree relative’s

investment of one dollar could sway a judge. Even so, Canon 3C is clear that the

impact on the third-degree relative’s investment—not the amount of the

investment—governs disqualification.

       Canon 3C does not define the term “substantially affected,” and the Advisory

Opinions issued by the Committee on Codes of Conduct provide only limited

guidance on the matter.7 In the context of determining when a judge’s financial

royalty interests in oil or gas could be substantially affected by the outcome of a

proceeding, the Committee on Codes of Conduct has stated that “a $.60 per month

increase would not have a substantial impact on a judge’s utility bill” but that “the

doubling of a utility bill from $10 to $20 per month would be substantial.”

Committee on Codes of Conduct, Advisory Opinion No. 94. Extending this guidance

to the present case, where the financial interest in question is thirty shares of stock

in The Walt Disney Company, a six-percent change in the value of The Walt Disney

Company’s stock as a result of these proceedings would not be substantial under

Canon 3C(1)(d)(iii), but a fifty-percent change in the stock’s value would be. Still,



corporation’s controlled subsidiaries. See Committee on Codes of Conduct, Advisory Opinion No.
57 (“The Committee concludes that under the Code the owner of stock in a parent corporation has
a financial interest in a controlled subsidiary.”).
       7
         The dearth of guidance on what “substantially affected” means within Canon 3C(1)(d)(iii)
is not surprising, given that the share prices of most publicly traded companies are unlikely to be
substantially affected by the outcome of litigation in which the companies are involved.
                                                8
      Case 4:23-cv-00163-AW-MJF Document 45 Filed 06/01/23 Page 9 of 14




the exact threshold for when a proceeding rises to the level of substantially affecting

a financial interest remains unclear. Another open question is the relevant time

horizon (i.e., the length of time during which the value increases or decreases) for

determining whether a proceeding substantially affects a financial interest.8

                                              B

       Now to this case. In its own complaint, Plaintiff, the owner and operator of

Walt Disney World Resort in Central Florida, alleges that it has been the victim of a

“targeted campaign of government retaliation” that now “threatens [Plaintiff’s]

business operations, jeopardizes its economic future in the region, and violates its

constitutional rights.” ECF No. 25 at ¶¶ 2, 4. Plaintiff alleges that Florida’s oversight

board, at the request of Defendant Governor Ron DeSantis (“Governor DeSantis”),

has stated that it will “void” Plaintiff’s “publicly noticed and duly agreed

development contracts,” which Plaintiff alleges has “laid the foundation for billions

of Disney’s investment dollars . . . .” Id. Plaintiff claims that it “seeks to invest up to

$17 billion in capital . . . in the region over the next decade” and that “development

and investment of this magnitude cannot effectively take place when it can be

nullified or undermined at the whim of new political leadership.” Id. at ¶¶ 105–106.

Plaintiff also alleges that Governor DeSantis publicly stated that he plans “to look at



       8
         This inquiry is made even more difficult by attempting to parse the precise reasons a
stock’s value may increase or decrease over time.
                                              9
     Case 4:23-cv-00163-AW-MJF Document 45 Filed 06/01/23 Page 10 of 14




things like taxes on the hotels,” “tolls on the roads,” “developing some of the

property that the district owns” with “more amusement parks,” and even putting a

“state prison” next to the Walt Disney World Resort. Id. at ¶ 3.

      The Walt Disney Company has also acknowledged the potential impact of

Defendants’ alleged retaliation in its public filings with the Securities and Exchange

Commission. I take judicial notice of these public filings, including The Walt Disney

Company’s disclosure in its most recent quarterly report that “[i]n Florida, steps

directed at the Company (including the passage of legislation) have been taken and

future actions have been threatened, which collectively could negatively impact (and

may have already impacted) our ability to execute on our business strategy, our costs

and the profitability of our operations in Florida.” The Walt Disney Company,

Quarterly Report (Form 10-Q) (May 10, 2023).

      The income that Plaintiff generates from the Walt Disney World Resort in

Central Florida, as well as Plaintiff’s other business activities in Florida, is likely

significant. While The Walt Disney Company does not disclose the income it

generates specifically from the Walt Disney World Resort, The Walt Disney

Company has disclosed in its most recent annual report that its “Disney Parks,

Experiences and Products” segment generated $7.905 billion in operating income in




                                          10
      Case 4:23-cv-00163-AW-MJF Document 45 Filed 06/01/23 Page 11 of 14




2022. 9 The Walt Disney Company, Annual Report (Form 10-K) (November 29,

2022). For context, the operating income from The Walt Disney Company’s only

other segment, its “Disney Media and Entertainment Distribution” segment, was

$4.216 billion in 2022. Id. Theme park admissions, as well as park and experience

merchandise, are significant sources of income for the Disney Parks, Experiences

and Products segment.10 Id.

       It’s also true that an adverse outcome for Plaintiff in these proceedings could

result in Defendants continuing to engage in the alleged retaliatory conduct that,

according to Plaintiff, “threatens [Plaintiff’s] business operations [and] jeopardizes

its economic future in the region.” ECF No. 25 at ¶ 2. An adverse outcome for

Plaintiff could also result in Defendants engaging in similar conduct, which could

additionally impact Plaintiff. I am no speculator. But Plaintiff’s own allegations

make clear that this case involves significant economic interests for its parent

corporation, in which my third-degree relative owns stock.




       9
          The Walt Disney Company’s “Disney Parks, Entertainment, and Products” segment
includes more than just the Walt Disney Work Resort. The Walt Disney Company, Annual Report
(Form 10-K) (November 29, 2022). This segment also includes, for example, The Walt Disney
Company’s other theme parks, its cruise line, and its vacation club, as well as the licensing of the
Walt Disney Company’s intellectual property and the sale of its branded merchandise. Id. I also
note that operating income is just one metric used to measure the performance of a corporation
and its divisions, but I find it helpful for my analysis here.
       10
          The income The Walt Disney Company receives from theme park admissions, as well
as park and experience merchandise, also includes income associated with other theme parks. See
The Walt Disney Company, Annual Report (Form 10-K) (November 29, 2022).
                                                11
     Case 4:23-cv-00163-AW-MJF Document 45 Filed 06/01/23 Page 12 of 14




                                          C

      Based on the language of Canon 3C(1)(d)(iii), the guidance provided by the

Committee on Codes of Conduct, and the facts pertaining to this case,

disqualification is required under the circumstances.

      To be clear, I do not think it likely that the outcome of this litigation would

substantially affect The Walt Disney Company’s share price. Indeed, almost all of

litigation involving Plaintiff is unlikely to have a substantial effect on The Walt

Disney Company’s share price. Plaintiff is just one slice of the vast pie that makes

up The Walt Disney Company. That said, Canon 3C(1)(d)(iii) requires me to apply

an ambiguous standard—with the threshold of substantially affecting the share price

being somewhere between a six- and fifty-percent change—to the present case. And

here, Plaintiff has alleged that Defendant’s alleged retaliation has threatened its

business operations, jeopardized its economic future in the region, and impacted its

plan to invest billions of dollars in the region over the next decade. It is uncertain

how much income The Walt Disney Company generates from Plaintiff’s operation

of the Walt Disney World Resort, but The Walt Disney Company’s public filings

reveal that its Disney Parks, Experiences and Products segment generates


                                         12
     Case 4:23-cv-00163-AW-MJF Document 45 Filed 06/01/23 Page 13 of 14




considerable income for the company. Ultimately, no clear picture exists of how this

case’s outcome will impact—whether positively or negatively—The Walt Disney

Company’s share price.

      Given the ambiguous standard I must apply under Canon 3C(1)(d)(iii), as well

the number of unknown variables present in this case, I cannot say for sure that the

outcome of these proceedings could not substantially affect the value of my family

member’s financial interest in The Walt Disney Company, Plaintiff’s parent

corporation. Even though I believe it is highly unlikely that these proceedings will

have a substantial effect on The Walt Disney Company, I choose to err on the side

of caution—which, here, is also the side of judicial integrity—and disqualify myself.

Maintaining public trust in the judiciary is paramount, perhaps now more than ever

in the history of our Republic.

                                         III

      As set out above, Defendant’s motion to disqualify me is without merit.

Nevertheless, based on Canon 3C(1)(d)(iii), and the guidance provided by the

Committee on Codes of Conduct, and the facts of this case, I must disqualify myself,

because a relative within the third degree owns stock in Plaintiff’s parent

corporation, which could be substantially affected by the outcome of this case. I am

confident that my colleagues on this Court can preside over the remainder of this

case and judge it fairly and wisely.


                                         13
    Case 4:23-cv-00163-AW-MJF Document 45 Filed 06/01/23 Page 14 of 14




Accordingly,

     IT IS ORDERED:

     1. Defendants’ motion to disqualify, ECF No. 33, is DENIED.

     2. However, for other reasons articulated here, I disqualify myself from

        further participation in this case.

     SO ORDERED on June 1, 2023.
                                       s/Mark E. Walker                   ____
                                       Chief United States District Judge




                                         14
